Case 2:19-cv-01131-ACA Document 2 Filed 07/18/19 Page 1 of 9            FILED
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Case 2:19-cv-01131-ACA Document 2 Filed 07/18/19 Page 2 of 9
Case 2:19-cv-01131-ACA Document 2 Filed 07/18/19 Page 3 of 9
Case 2:19-cv-01131-ACA Document 2 Filed 07/18/19 Page 4 of 9
Case 2:19-cv-01131-ACA Document 2 Filed 07/18/19 Page 5 of 9
Case 2:19-cv-01131-ACA Document 2 Filed 07/18/19 Page 6 of 9
Case 2:19-cv-01131-ACA Document 2 Filed 07/18/19 Page 7 of 9
Case 2:19-cv-01131-ACA Document 2 Filed 07/18/19 Page 8 of 9
Case 2:19-cv-01131-ACA Document 2 Filed 07/18/19 Page 9 of 9
